           Case 1:19-cv-08141-AKH Document 39 Filed 11/09/20 Page 1 of 2




 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- x
 ALIYAH BAKER,                                                   :
                                                                 :
                                                                 :   ORDER REGULATING
                                                                 :   PROCEEDINGS
                                          Plaintiff,
                                                                 :
              -against-                                          :   19 Civ. 8141 (AKH)
                                                                 :
                                                                 :
                                                                 :
 THE CITY OF NEW YORK, et al.,                                   :
                                          Defendants.            :
 --------------------------------------------------------------- x

ALVIN K. HELLERSTEIN, U.S.D.J.:

                 On November 6, 2020, I held a telephonic status conference in the above-

captioned matter. As discussed at the conference, this matter shall proceed as follows:

                 1. Defendants shall produce any remaining written discovery by November 13,

                     2020.

                 2. All discovery, including depositions, will be completed by December 4, 2020.

                 3. The parties shall appear for a telephonic status conference on December 11,

                     2020, at 10:00 a.m. The conference will be held via the following call-in

                     number:

                                   Dial: 888-363-4749

                                   Access code: 7518680

                     All participants are directed to call in at least 5 minutes prior to the start of the

                     conference. No later than December 8, 2020, at 12:00 p.m., the parties shall

                     jointly submit to the court (via the email address

                     HellersteinNYSDChambers@nysd.uscourts.gov) a list of all counsel expected

                     to appear on the record, along with their contact information.
         Case 1:19-cv-08141-AKH Document 39 Filed 11/09/20 Page 2 of 2




             SO ORDERED.

Dated:       November 9, 2020        _________/s/______________________
             New York, New York           ALVIN K. HELLERSTEIN
                                           United States District Judge
